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                                          Attorneys for Defendant
                                      6   MANUEL AGUEROS
                                      7

                                      8                                     IN THE UNITED STATES DISTRICT COURT

                                      9                                       EASTERN DISTRICT OF CALIFORNIA

                                     10

                                     11   UNITED STATES OF AMERICA,                                 Case No. 2:17-CR-00053-JAM
                                     12                        Plaintiff,
                                                                                                    STIPULATION AND [PROPOSED]
                                     13              v.                                             ORDER
B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14   MANUEL AGUEROS,
                                     15                        Defendant.

                                     16

                                     17                                                  STIPULATION

                                     18              Plaintiff United States of America, by and through its counsel of record, Assistant United

                                     19   States Attorney Kevin Khasigian and defendant Manuel Agueros, by and through his counsel of

                                     20   record Kresta Nora Daly, hereby stipulate as follows:

                                     21              By previous order, this matter was set for sentencing on May 28, 2019. Formal objections

                                     22   were due May 14, 2019. Defense counsel started trial in state court on May 20, 2019,1 and

                                     23   anticipates said trial will last until May 28 or 29, 2019. Defense counsel requires additional time

                                     24   to complete the formal objections and sentencing memorandum in this case.

                                     25              Defense counsel requests that the current sentencing on May 28, 2019 be vacated, and

                                     26   rescheduled for June 18, 2019 at 9:15 a.m. before the Honorable John A. Mendez. Any motions

                                     27   ///

                                     28   1
                                              People v. Yang, Sacramento County Superior Court Case No. 18FE011738.
                                          {00028390}                                            -1-
                                              STIPULATION AND [PROPOSED] ORDER                                             [Case No. 2:17-CR-00053-JAM]
                                             Case 2:17-cr-00053-JAM Document 174 Filed 05/22/19 Page 2 of 2


                                      1   for correction of the PSR shall be due no later than June 11, 2019. The government has no
                                      2   objection to these dates.
                                      3            IT IS SO STIPULATED.
                                      4   Dated: May 21, 2019.                 McGREGOR W. SCOTT
                                                                               United States Attorney
                                      5
                                                                               By     /s/ Kresta Nora Daly
                                      6                                               KEVIN C. KHASIGIAN
                                                                                      Assistant United States Attorney
                                      7

                                      8   Dated: May 21, 2019.                 BARTH DALY LLP
                                      9
                                                                               By     /s/ Kresta Nora Daly
                                     10                                               KRESTA NORA DALY
                                                                               Attorneys for Defendant MANUEL AGUEROS
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B ARTH D ALY LLP
               A TTORNEYS A T L AW




                                     14                                               ORDER
                                     15                   Good cause appearing, the sentencing set for May 28, 2019 is vacated. Sentencing
                                     16   is rescheduled for June 18, 2019, 9:15 a.m. Any motions for correction of the PSR shall be filed
                                     17   no later than June 11, 2019.
                                     18                   IT IS SO ORDERED.
                                     19   Dated: 5/21/2019
                                     20                                               /s/ John A. Mendez______________________
                                                                                           HONORABLE JOHN A. MENDEZ
                                     21                                                JUDGE, UNITED STATES DISTRICT COURT
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                                          {00028390}                                    -2-
                                          STIPULATION AND [PROPOSED] ORDER                                               [Case No. 2:17-CR-00053-JAM]
